         Case 21-40834-drd11                Doc 347 Filed 02/09/22 Entered 02/09/22 15:06:33                             Desc
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                                               United States Bankruptcy Court
                                                           District of Kansas
In re   Interstate Underground Warehouse and Industrial Park, Inc.                             Case No.   21-40834-drd
                                                                       Debtor(s)               Chapter    11


                               NOTICE OF CHANGE OF ADDRESS FOR CREDITOR


        The Creditor's former mailing address was:
Name:        Wayne Reeder

Address: 600 East Admiral Blvd. #2001
         Kansas City, MO 64106-1519


        The Creditor's new mailing address is:
Name:        Wayne Reeder

Address: 800 NW Argosy Parkway
         Riverside, MO 64150



                                                                     Respectfully Submitted:

                                                                     EVANS & MULLINIX, P.A.

                                                                     /s/ Colin N. Gotham
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